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            EXHIBIT 4
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                 EXHIBIT 1
                Case 1:22-cv-11378-RGS Document 227-4 Filed 02/21/24 Page 3 of 4




From:               Hilgar, Rebecca A. <rebeccahilgar@paulhastings.com>
Sent:               Wednesday, October 18, 2023 5:29 PM
To:                 Curtis, Annaleigh; lbromberg@mccarter.com; ebelt@mccarter.com; wproctor@mccarter.com; Selby,
                    Thomas; Fisher, Stanley; Kayali, Kathryn; Liu, Michael; Ghosh, Shayon; Tavares, Julie; Anderson,
                    Derrick; Bernal Anderson, Haylee; Jeffrey.Robbins@saul.com; Joseph.Lipchitz@saul.com;
                    Gregory.Boucher@saul.com; brucewexler@paulhastings.com; ericdittmann@paulhastings.com; Park,
                    Young J.; Kung, Simon; Minniti, Carl; Meuth, Ryan; COVIDPatentPfizer; 'BioNTech-Moderna-
                    PH@paulhastings.com'
Cc:                 WH_Moderna_Lit
Subject:            RE: Moderna v. Pfizer and BioNTech, 22-cv-11378--BioNTech Documents
Attachments:        mg_info.txt



EXTERNAL SENDER


Counsel,

In reply to your email, and without waiver of any rights should addi onal informa on or circumstances come to light,
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Regards,

Rebecca




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<ryanmeuth@paulhastings.com>; COVIDPatentPfizer <COVIDPatentPfizer@wc.com>; 'BioNTech‐Moderna‐
PH@paulhastings.com'
Cc: WH_Moderna_Lit <WH_Moderna_Lit@wilmerhale.com>
Subject: [EXT] Moderna v. Pfizer and BioNTech, 22‐cv‐11378‐‐BioNTech Documents

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Case 1:22-cv-11378-RGS Document 227-4 Filed 02/21/24 Page 4 of 4
